       Case 2:21-mc-00147-SWS Document 26 Filed 12/15/21 Page 1 of 1


                                                                                                 i)



                                                                              ^'       I ir-.-
                        IN THE UNITED STATES DISTRICT COURT^.,                         ,
                                                                                       15 f;!10:39
                             FOR THE DISTRICT OF WYOMING



WEIHAI TEXTILE GROUP IMPORT &
EXPORT CO,LTD.,

               Petitioner,

        V.                                             Case No. 2:21-mc-00147-SWS


ERUPTION HOLDINGS INC.,

               Respondent.

         ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE OF
             JEAN CLAUDE MAZZOLA.RUOFEIXIANG. AND KEVIN KELLY

               THIS MATTER having come before the Court upon the motion of counsel for

Petitioner Weihai Textile Group Import & Export Co., Ltd., pursuant to U.S.D.C.L.R. 84.2(b),

for the purpose of admitting Jean Claude Mazzola, Ruofei Xiang, and Kevin Kelly as Pro Hoc

Vice counsel for Petitioner Weihai Textile Group Import & Export Co., Ltd. in the District of

Wyoming. The Court reviewed this matter and finds that the Motion should be granted.

Accordingly,

       IT IS HEREBY ORDERD that Jean Claude Mazzola, Ruofei Xiang, and Kevin Kelly are

hereby admitted to practice before this Court for all purposes in this matter.

       IT IS FURTHER ORDERED that local counsel shall be present in Court during all

proceedings in connection with the case, unless excused by the Court, and shall have full

authority to act for and on behalf of the client in all matters including pretrial conferences, as

well as trial or any other hearings. Any notice, pleading or other paper shall be served on all

counsel of record including local counsel.

       DATED this/^day of                    ,2021.

                                                       It
